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                                   Exhibit 6




DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 33
               Case 2:18-cv-00112-JCC Document 15-6 Filed 04/04/18 Page 2 of 3

Joe Morrison

From:                           Belzberg, Adam S. <adam.belzberg@stoel.com>
Sent:                           Friday, March 30, 2018 11:41 AM
To:                             Joe Morrison
Subject:                        Re: Brown v. China Integrated Energy



Thanks, Joe.

I guess we’ll have to agree to disagree. I also do not represent CSI, S.A. in this matter and have no authority to
accept or waive service. Unlike CSI, S.A., these cases you sent me involve service on foreign individual
defendants who have many ties to other domestic defendant entities with registered agents and employees in the
US. As a foreign entity that is covered by The Hague Convention and has no employees or operations in the US,
it would be contrary to FRCP 4(f)(1) and due process for service to be permitted on CSI domestically in this
case. Especially since you have chosen to not even attempt compliance with The Hague Convention and FRCP
4(f)(1).

Thanks,

Adam

Adam S. Belzberg | Partner
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101<x-apple-data-detectors://4/1>
Direct: (206) 386-7516<tel:(206)%20386-7516> | Fax: (206) 386-7500<tel:(206)%20386-7500>
adam.belzberg@stoel.com<mailto:adam.belzberg@stoel.com> | www.stoel.com<http://www.stoel.com/>

On Mar 30, 2018, at 9:22 AM, Joe Morrison
<joe.morrison@ColumbiaLegal.org<mailto:joe.morrison@ColumbiaLegal.org>> wrote:

Another case supporting our approach. Hope this helps and that your client will ultimately decide to waive
service to move matters along. Thanks again for your quick review and constructive dialogue. Joe <Brown v.
China Integrated Energy_ Inc._ 285 F.R.D. 560.docx>




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                         Case 2:18-cv-00112-JCC Document 15-6 Filed 04/04/18 Page 3 of 3

Joe Morrison

From:                                           Belzberg, Adam S. <adam.belzberg@stoel.com>
Sent:                                           Wednesday, March 28, 2018 12:00 PM
To:                                             Joe Morrison
Subject:                                        RE: Alternative service - Rule 4(f)(3)


Thanks, Joe.   
 
Just to be clear, we were engaged to represent CSI Visa Processing U.S.A., LLC in this matter, not CSI Visa Processing, 
S.A.  I’ll be back in touch tomorrow. 
 
 
Adam S. Belzberg | Partner 
STOEL RIVES LLP | 600 University Street, Suite 3600 | Seattle, WA 98101 
Direct:  (206) 386‐7516 | Fax:  (206) 386‐7500 
adam.belzberg@stoel.com | www.stoel.com 
 
From: Joe Morrison [mailto:joe.morrison@ColumbiaLegal.org]
Sent: Wednesday, March 28, 2018 11:47 AM
To: Belzberg, Adam S.
Subject: Alternative service - Rule 4(f)(3)
 
Hi, Adam. Thanks for your willingness to consider alternative service on your client to avoid a year of delay by
having to use the Hauge Convention process. Here are two cases for your consideration. We will hold off filing
our motion until I hear from you tomorrow. Thanks,

          Rio Props. v. Rio Int'l Interlink, 284 F.3d 1007, 1015-17 (9th Cir. 2002)
          Microsoft Corp. v. Buy More, Inc., 703 F. App'x 476, 480 (9th Cir. 2017)

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           VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 35
